                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

TELEDYNE INSTRUMENTS, INC.,

                Plaintiff,

vs.
                                        Case No.: 6:12-cv-00854-JA-TBS
JAMES L. CAIRNS and
ABYSSAL SYSTEMS, INC.,

                Defendants.


                                 Exhibit 2
                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

TELEDYNE INSTRUMENTS, INC.,

                         Plaintiff,

vs.                                                   Case No.: 6:12-cv-00854-JA-TBS

JAMES L. CAIRNS and
ABYSSAL SYSTEMS, INC.,

                         Defendants.

DEFENDANTS JAMES L. CAIRNS' AND ABYSSAL SYSTEMS, INC.'S FIRST SET OF
    INTERROGATORIES TO PLAINTIFF TELEDYNE INSTRUMENTS, INC.

       Pursuant to Rules 26 and 33 ofthe Federal Rules of Civil Procedure ("Federal Rules"),

Defendants James L. Cairns and Abyssal Systems, Inc. ("Dr. Cairns") hereby requests that

Plaintiff Teledyne Instruments, Inc. ("Teledyne" or "Plaintiff") respond to the following first of

written interrogatories ("Interrogatories") under oath, within thirty (30) days of service hereof, in

accordance with the Federal Rules and the instructions ("Instructions") and definitions

("Definitions") below.

                              DEFINITIONS AND INSTRUCTIONS

       The following Definitions and Instructions shall apply when responding to these

Interrogatories:

       A.      The definitions and rules of construction set forth in Federal Rules 26 and 33 shall

apply to these Interrogatories and are incorporated as if fully set forth herein. These

Interrogatories are ongoing and of a continuing nature and shall be promptly supplemented as

necessary or appropriate under Federal Rule 26(e).

       B.      Dr. Cairns' use ofterms, phrases and definitions is for convenience and no term,

phrase or definition shall be construed as an admission by Dr. Cairns.


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       C.      In answering these Interrogatories, Plaintiff is requested to furnish all information

which is available to Plaintiff or to attorneys representing Plaintiff, including, but not limited to

information in the possession of any attorneys, agents, investigators, representatives, or anyone

acting in cooperation, in concert with or on behalf of Plaintiff. Plaintiff must make a diligent

search of its records and other materials in its possession or within its access and furnish such

information in response to these Interrogatories.

       D.      Where appropriate, the singular form of a word should be interpreted in the plural

and vice versa, to acquire the broadest possible meaning.

       E.      "Alleged Confidential Information" means the purported confidential information

that Teledyne claims was misappropriated or otherwise misused by Dr. Cairns, Abyssal, or any

past or present agent or employee of Abyssal.

       F.      "Alleged Trade Secrets" means any purported trade secrets that Teledyne claims

were misappropriated or otherwise misused by Dr. Cairns, Abyssal Systems, or any past or

present agent or employee of Abyssal Systems, Inc.

       G.      The term "Dr. Cairns" means Defendants James L. Cairns. The term "Abyssal"

means Abyssal Systems, Inc.

       H.      The terms "Teledyne Instruments," "Plaintiff," "You," and "Your" means

Plaintiff Teledyne Instruments, Inc., Ocean Design, Inc., and further including without limitation

any predecessors, successors, parent companies, wholly or partially owned subsidiaries, or any

other person acting on behalf or purporting to act on behalf of Teledyne Instruments, Inc.

       I.      The terms "document" and "documents" shall have the broadest meaning

permitted by Federal Rules 33 and 34 and shall include all documents and things and all means

of conveying, storing, or memorializing information, whether in paper, electronic, or other




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physical form in Your possession, custody, or control. Any comment or notation appearing on

any document and not a part of the original text is considered to be a separate "document," and

any draft or other version is considered to be a separate "document." The terms "document" and

"documents" shall include, but are not limited to, all written or graphic matter, including

computer and data files, of every kind and description, however produced or reproduced,

whether draft or final, original or reproduction, now or formerly within Your actual or

constructive possession, custody, or control, or that of Your present and former attorneys. By

way of non-limiting example, the terms "document" and "documents" include all electronic mail,

drawings and information in computer readable format, invention disclosure documents,

sketches, drawings, schematics, memoranda, drafts, reports, correspondence, records of tests,

records of meetings, comments, edits, marginalia, notebook entries, notes of any kinds, records,

letters, correspondence, communications, manuals, memoranda, notes, files, transcripts, papers,

advertisements, literature, brochures, statements, invoices, notices, reports, orders, receipts,

worksheets, books, audits, financial statements, ledgers, journals, telephone records, telexes,

telegrams, cables, movies, tapes, work papers, calculations, recordings, any other "writing" and

"recording" as defined in Fed. R. Evid. 1001, and material similar to any of the foregoing,

whether electronic or hard copy, however denominated, and including writings, drawings, and

photographs. The terms "document" and "documents" specifically include e-mails, instant

messages, text message and other electronically stored communications. The terms "document"

and "documents" also include all copies of each document if the copies contained any additional

writing or are not identical copies of the original.

       J.      The term "person" or "persons" means an individual, proprietorship, partnership,

firm, corporation, association, governmental agency, or other organization or entity.




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       K.       The term "communication" or "communications" means any transmittal of

information in the form of facts, ideas, opinions, inquiries or otherwise, by whatever means

transmitted (i.e., whether oral, written, electronic or other methods are used), as well as any note,

memorandum, or other record thereof. When the term "identify" is used herein in conjunction

with the term "communication," You are to state, with respect to each communication, (1) the

identity of the person(s) making it; (2) the identity of the recipient(s), and of any person(s) before

whom it was made or who witnessed it; (3) the manner oftransmittal; (4) the substance of the

communication; and (5) the date ofthe communication.

       L.       For purposes of these Interrogatories, "and" and "or" shall be construed either

conjunctively or disjunctively as necessary to bring within the scope of the discovery request all

responses that might otherwise be construed to be outside of its scope.

       M.

                (1)    To "identify" a person means to provide the following information if

       known:

       (a) the person's full name; (b) the person's present or last known residence address and

       telephone number; (c) the person's present or last known business affiliate and job title;

       and (d) the person's present or last known employment address and telephone number.

                (2)    To "identify" a document means to state the Bates Number of the

       document if produced in this action or, if not produced, a description that includes,

       without limitation, a statement ofthe general nature ofthe document (e.g., whether it is a

       letter, memorandum, pamphlet, report, drawing, etc.); the date; the author or authors; all

       addresses and copy recipients of the document; title and type of document; and an

       identification of the person or entity who has possession of the document, which




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       description shall be sufficient to obtain production thereof by subpoena, discovery

       request, or court order. If the document was destroyed, state the identity of the person

       destroying it and the date and circumstance of its destruction.

               (3)     The term "identify" when used in connection with a business entity other

       than an individual means to state its full name, type of entity (e.g., corporation,

       partnership, sole proprietorship), and its present or last known address.

               (4)     The term "identify" or "describe" when used in connection with facts or

       circumstances means to describe in detail the facts or circumstances relating to the

       specified acts and events occurred, and the names and roles of all persons involved in the

       specific acts or events.

       N.      The terms "include" and "including" are to be read as followed by the phrase

"without limitation," so as to acquire the broadest meaning possible.

       0.      The terms "concerning," "regarding," "relating to," and "related to" in regard to a

particular subject shall mean, without limitation, assessing, analyzing, constituting, containing,

comprising, describing, discussing, embodying, reflecting, evidencing, identifying,

memorializing, stating, or referring to such subject.

       P.

               (1)     If You object to any portion of an Interrogatory, provide all information

       responsive to any portion of the Interrogatory to which You do not object.

               (2)     If You object to an Interrogatory on the ground that it is too broad, provide

       all information responsive to any portions of the request that You concede are relevant or

       reasonably calculated to lead to the discovery of admissible evidence.




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       Q.      With respect to responsive tangible items, once they are identified, inspection can

be arranged at a mutually agreeable date and time.

       R.      If Teledyne claims privilege for any information requested herein, provide the

following:

               the nature of the information You claim is privileged;

               the basis for the asserted privilege;

               the circumstances under which such information became privileged;

               the identity of any of the persons who participated in the communication of the
                       privileged information;

               the identity of those persons who have knowledge of the privileged information;
                       and

               any additional information sufficient to explain the privilege and to permit
                      adjudication as to whether such claim of privilege is proper.

       S.      Where anything has been deleted or redacted from a document produced in

response to a request:

               specify the nature of the material deleted or redacted;

               specify the reason for deletion or redaction; and

               indicate on the document where material has been deleted.

       T.      If a document is redacted based on privilege, the redacted document should be

produced in a single page TIFF format that has been processed with OCR, so that it is

searchable, and all related metadata must be produced in a metadata load file.

       U.      If any material responsive to any of these requests was, but is no longer, in

Teledyne's possession or custody or subject to Teledyne's control, provide the following

information for each such item:

               identify and describe the material;



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               specify whether such material is missing, lost, destroyed, or otherwise disposed,
                       or in the possession, custody, or control of another;

               state the date of such loss, destruction, disposal, or other disposition of material;

               explain the circumstances of such loss, destruction, disposal, or other disposition
                      of material; and

               identify the persons who authorized or have knowledge of such loss, destruction,
                       disposal, or other disposition of material.

       V.      If, after diligent inquiry, Teledyne cannot fully answer any Interrogatory,

Teledyne should provide as complete an answer as possible, state the reason for Teledyne's

inability to answer fully, and give any such information, knowledge, or belief that Teledyne has

regarding the unanswered portion of the Interrogatory.




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                                    INTERROGATORIES

INTERROGATORY NO. 1:

       Identify the Alleged Confidential Information.

INTERROGATORY NO.2:

       Identify any Alleged Trade Secrets.

INTERROGATORY NO.3:

       Identify all "inventions, as well as other design work, devices or inventions, any portion

of which was performed or made by Dr. Cairns or Abyssal before December 31, 2009, or utilized

Confidential Information of Teledyne Instruments," as alleged in Paragraph 32 ofthe Complaint.

INTERROGATORY NO. 4:

       Identify all property owned by Teledyne Instruments to which Dr. Cairns and/or Abyssal

have improperly converted or over which Defendants have asserted dominion, as alleged in

Paragraph 53 ofthe Complaint.

INTERROGATORY NO. 5:

       Identify by Bates numbers all documents that have been produced in this lawsuit that

contain or reflect the Alleged Confidential Information, and state which of the Alleged

Confidential Information identified in response to Interrogatory No. 1 are contained or reflected

in each document.

INTERROGATORY NO.6:

       With reference to US 2012/0125460 A1, attached as Exhibit A, identify separately by

paragraph number and line number all of the elements in such application that "Cairns and/or

Abyssal performed work on developing before December 31, 2009," and/or which "used

Teledyne Instruments' Confidential Information in doing so before December 31, 2011 ," as

alleged in Paragraph 19 of the Complaint.



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Teledyne Instruments' Confidential Information in doing so before December 31, 2011," as

alleged in Paragraph 19 of the Complaint.

INTERROGATORY NO.7:

        For each item of Alleged Confidential Information identified in response to Interrogatory

No. 1 and for each document identified in response to Interrogatory No. 5, identify all persons

(including Teledyne employees and non-employees) who at any time were given access to the

Alleged Confidential Information or document, and describe when and under what circumstances

the persons were given such access.

INTERROGATORY NO.8:

       For each item of Alleged Confidential Information identified in response to Interrogatory

No. 1 and for each document identified in response to Interrogatory No. 5, describe all steps

taken by Teledyne to preserve the secrecy of the pertinent information.

INTERROGATORY NO.9:

       Identify all persons with knowledge or information relevant to the Alleged Confidential

Information, or any other allegations in the Complaint, and generally describe, identify the

custodian of, and identify the location of any documents, physical evidence, or information that

exists that is relevant to the same.

INTERROGATORY NO. 10:

        Identify all persons with knowledge of information relevant to Teledyne's claim for

damages, and provide a computation of each category of damage alleged for Counts II, III and V,

and generally describe, identify the custodian of, and identify the location of any documents,

physical evidence, or information that exists that is relevant to the same.




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INTERROGATORY NO. 11:

       Identify by case name, case number and jurisdiction all lawsuits or other actions initiated

by Teledyne since 2002 against former employees or competitors of Teledyne alleging the

misappropriation of confidential information or breach of a duty of confidentiality.



Dated: December 6, 2012


                                                       e of His Attar eys
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                                             Kimberly Doud (FL Bar No.: 0523771)
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                                             Two Prudential Plaza, Suite 4900
                                             Chicago, IL 60601

                                             Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document was served upon

the following by electronic mail and U.S. Mail on December 6, 2012:

       F. Bradley Hassell
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Dated: December 6, 2012




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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

TELEDYNE INSTRUMENTS, INC.,

                Plaintiff,

VS.                                 Case No.: 6:12-cv-00854-JA-TBS

JAMES L. CAIRNS and
ABYSSAL SYSTEMS, INC.,

                Defendants.

DEFENDANTS JAMES L. CAIRNS' AND ABYSSAL SYSTEMS, INC.'S FIRST SET OF
    INTERROGATORIES TO PLAINTIFF TELEDYNE INSTRUMENTS, INC.




                         EXHIBIT A
                                                111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111
                                                                                 US 20120125460Al
(19) United States
c12) Patent Application Publication                                       (10)   Pub. No.: US 2012/0125460 At
       CAIRNS                                                             (43)   Pub. Date:      May 24, 2012

(54)   DUAL RESI<:RVOIR COUPLER                                    (52)    u.s. Cl .........................................................   137/614
                                                                   (57)                            ABSTRACT
(76)   Inventor:         James CAIRNS, Onnond Beach,
                         FL (US)                                   A coupler mechanism comprising plug and receptacle units
                                                                   sealably mates and de-mates first and second reservoirs. In
(21)   Appl. No.:        13/296,406                                the mating sequence, the plug and receptacle units are
                                                                   brought together so that their end-seals are pressed tightly
(22)   Filed:            Nov. 15, 2011                             against each other axially, thus forming a sealed barrier
                                                                   between the units and the outside environment. Once the
                                                                   face-to-face seal between the units has been established, Ji.Jr-
                Related U.S. Application Data
                                                                   ther engagement displaces slidable seal elements laterally,
(60)   Provisional application No. 61/415,972, filed on Nov.       thereby creating an opening between the reservoirs, the open-
       22, 2010.                                                   ing remaining sealed from the outside environment before,
                                                                   during and after mating. 'l11e sequence for demating the units
                                                                   is just the reverse ofthe mating sequence. One embodiment of
                   Publication Classification                      the invention applies the aforementioned constmction to
(51)   Int. CI.                                                    harsh-enviro1m1ent electrical, fiber-optical, and hybrid elec-
       F16L 37100              (2006.01)                           tro-optical connectors.




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                                                           Exhibit A-1
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                                 Exhibit A-3
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                                       Exhibit A-4
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                 Figure 14       Section 0-D of Figure 10                     Figure 15                   N
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                                      Exhibit A-7
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                                      Exhibit A-8
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                                      Exhibit A-11
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                                      Exhibit A-12
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                                    Exhibit A-14
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                                      Exhibit A-16
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                                    Exhibit A-17
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                                   Exhibit A-20
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                                       Exhibit A-21
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                                    Exhibit A-22
US 2012/0125460 A1                                                                                                May 24, 2012
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             DUAL RESERVOIR COUPLER                                   pier apparatus for sealably coupling two simple reservoirs.
                                                                      The third-described embodiment of the invention illustrates
           CROSS-REFERENCE TO RELATED                                 the coupler apparatus configured to connect electrical and or
                  APPLICATIONS                                        fiber optical junctions in a harsh environment such as seawa-
                                                                      ter. In tlus third embodiment of the invention, a plug mut
10001] This application claims the benefit under 35 U.S.C.
                                                                      houses a first one or a plurality of contact junctions within a
§119(e) of the earlier filing date of U.S. Provisional Applica-
                                                                      llrst reservoir sealed from the extemal environment. The
tion Ser. No. 61/415,972 filed on Nov. 22, 2010 the contents
of which arc hereby incorporated by reference.                        receptacle unit houses a respective second one or a plurality
                                                                      of contact junctions witlun a second reservoir sealed from the
               FIELD OF THE INVENTION                                 extemal environment. When the plug and receptacle tmits are
                                                                      mated, the first and second reservoirs are sealably joined
100021 Embodiments of the invention include an apparatus              together, thereby joining the respective first one or a plurality
and method for joining two fluid reservoirs in such a manner          of contact junctions and respective second one or a plurality
that the contents of the reservoirs remain sealed from the            of contact junctions. When the units are subsequently
outside environment before, during, and after coupling and            demated the llrst and second chambers are once again sepa-
subsequent decoupling.                                                rately sealed from the operating enviromnent. Although the
                                                                      third coupler embodiment is described herein in the context of
         BACKGROUND OF THE INVENTION                                  a connector for underwater usc, sinlilar embodiments of the
I0003] There are applications with requirements to sealably           coupler apparatus could be used for many diverse applica-
join two reservoirs while simultaneously opening a commu-             tions such as are encountered in medical and industrial fields.
nication path between the reservoirs such as might be
required to add a reagent to a chemical mixture, or for con-                 BRIEF DESCRIPTION OF THE DRAWINGS
necting reservoirs of toxic fluids or gasses which cannot             10008] The invented coupling mechmusm is first described
interact with the surrounding environment. Some industrial            herein in general tenns without regard to specillc applica-
examples are given in U.S. Pat. Nos. 3,279,497; 4,496,959;            tions. It will be easily understood that the coupler can be
5,293,902; and 6,354,564, the disclosures of which are incor-         readily adapted to a wide variety of housings and reservoir
porated by reference herein.                                          types. It will also be understood that multiple couplers can be
10004] In the medical field, there are requirements to seal-          ganged so as to simultaneously couple multiple reservoirs, as
ably cmmect and disconnect fluid reservoirs without contami-          is often done in automatic dispensing equipment, for
nation of the outside enviromnent by the contents of the              instance. FIGS.1 through 19 describe a llrst embodiment of a
reservoirs, or vice-versa. Such reservoirs may consist of             coupling mechanism that permits two closed, independent
tubes, sacs, vials, bottles, etc. Some examples arc given in          reservoirs to be joined and subsequently separated while
U.S. Pat. Nos. 3,279,497; 4,496,959; 5,293,902; and 6,354,            remaining at all times sealed from the in-situ environment.
564, the disclosures of which are incorporated by reference           FIGS. 20 through 25 describe a second embodiment of the
herein. Some medical-use examples are given in U.S. Pat.              invented coupli~g mechanism. FIGS. 26 through 50 demon-
Nos. 4,889,527; 5,496,300; and 5,536,262, the disclosures of          strate the third coupling mechanism embodiment conllgured
which are incorporated by reference herein.                           for usc as a hybrid electro-optical connector. The details of the
10005] Many applications in the offshore industries require           present invention, both as to its stmcture and operation, may
connectors that can be repeatedly mated and de-mated in               be gleaned in part by study of the accompanying drawings, in
hostile enviromnents, such as seawater. TI1ese wet-mateable           which like reference numerals refer to like parts, and in
connectors include electrical connectors, fiber-optical con-          which:
nectors and hybrid electro-optical connectors. Some                   10009] FIG. 1 is mating-face view of the receptacle end-
examples ofwet-mateable connectors are described in U.S.              seal in the unmated (closed) condition;
Pat. Nos. 4,682,848; 5,685,727; 5,738,535; 5,838,857; 6,017,          100 10] FIG. 1a is a partial cross-sectional perspective view
227; 6,095,838; 6,322, 787; 6, 736,545; 7,004,638; 7,244, 132;        of the receptacle end-seal in the unmated (closed) condition:
7,048,285; US Patent Application 20090080836, and FPO                 [0011] FIG. 2 shows the sliding element of the receptacle
Patent 0538089Al, the disclosures of which are incorpowted            cnd-scaljuxtaposcd with the fixed clement;
by reference herein.                                                  10012] riG. 3 is mating-t~1ce view of the receptacle end-
                                                                      seal in the mated (open) condition;
            SUMMARY OF THE INVENTION                                  10013] FIG. 3a is a partial cross-sectional perspective view
I0006) According to embodiments of the invention, an                  of the receptacle end-seal in the mated (open) condition:
apparatus is provided which includes a first unit (called tor         10014] FIG. 4 is an axial cross-sectional view ofthe FIG.1
convenience the "plug") in communication with a first reser-          receptacle end-seal in the unmated (closed) condition;
voir and a second unit (called for convenience a "receptacle")        10015] FIG. 5 is an axial cross-sectional view of the FIG. 1
in communication with a second reservoir which are repeat-            receptacle end-seal in the unmated (closed) condition. The
edly mateable together and subsequently de-mateable while             view is orthogonal to the FIG. 4 view;
their respective reservoirs remain scaled from the environ-           10016] l'IG. 6 is an axial cross-sectional view of the riG. 3
ment in which they are operated. A connector embodiment               receptacle end-seal in the mated (open) condition;
herein described is intended for underwater use, although             10017) FIG. 7 shows the sliding clement of the receptacle
similar embodiments of the coupler described herein could be          end-seal juxtaposed with the integral spine that supports it;
used fL1r many diverse environments such as medical and               10018] FIG. 8 is a mating-face view of the plug end-seal in
other environments.                                                   the unmated (closed) condition;
10007] Three embodiments of the invention are described               10019] FIG. 9 shows the fixed and sliding clements of the
herein. The first two described embodiments illustrate a cou-         plug cnd-scaljuxtaposed:
                                                            Exhibit A-23
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 (0020] FIG.10 is a mating-faceview of the plug end-seal in            (0049] FIG. 39 in an exploded view of the connector plug
 the mated (open) condition;                                           unit of the hybrid electro-optical connector;
 (0021] FIG. 11 is an axial cross-sectional view of the FIG.           (0050] FIG. 40 shows the plug base assembly of the hybrid
8 plug end-seal in the unmated (closed) condition;                     electro-optical connector;
 (0022] FIG. 12 is an axial cross-sectional view the FIG. 8            [0051] FIG. 41a is a partial axial half-section of the plug
plug end-seal in the unmated (closed) condition. The view is           connector unit in the un-mated condition;
orthogonal to the FIG. 11 view;                                        (0052] FIG. 41b is a front-end view of the plug connector
 (0023] FIG. 13 is an axial cross-sectional view of the FIG.           unit in the un-mated condition;
10 plug end-seal in the mated (open) condition;                        (0053] FIG. 42a is a partial axial half-section of the plug
 (0024] FIG.14 is an enlarged viewoftheplugstemactuator                connector unit in the mated condition;
tip;                                                                   (0054] FIG. 42b is a front-end view of the plug connector
 (0025] FIG. 15 shows the sliding sub-assembly element of              unit in the mated condition;
the plug end-seal juxtaposed with the integral spine that sup-         (0055] FIG. 43 is a perspective view of the cmmector recep-
ports it, and with the actuator pin;                                   tacle unit;
 (0026] FIG. 16 is an axial cross-sectional view of the plug           (0056] FIG. 44 is a perspective view of the connector plug
and receptacle end-seals juxtaposed in position just prior to          unit;
mating;                                                                (0057] FIG. 45 is a side view of the mated connector plug
(0027] FIG.17 is an axial cross-sectional view of the plug             and receptacle units;
and receptacle end-seals in position just as mating begins;            [0058] FIG. 46 is a partial axial cross-sectional view of the
(0028] FIG. 18 is an axial cross-sectional view of the plug            mated connector plug and receptacle unit end-seals;
and receptacle end-seals in position when fully mated;                 (0059] FIG. 47 is an axial cross-sectional view taken
(0029] FIG. 19 depicts the anterior portion of the plug stem           through a plane of electrical junctions of the plug and recep-
with the actuator tip mounted in position;                             tacle electrical contact blocks in the unmated condition;
(0030] l.'IG. 20 is mating-face view of the second-embodi-             (0060] FIG. 48 is an axial cross-sectional view taken
ment receptacle end-seal in the unmated (closed) condition;            through a plane of electrical jtmctions of the plug and recep-
(0031] FIG. 21 is mating-face view of the second-embodi-               tacle electrical contact blocks in the mated condition;
ment receptacle end-seal in the mated (open) condition;                (0061] FIG. 49 is an axial cross-sectional view taken
(0032] FIG. 22 is an axial cross-sectional view of the FIG.            through a plane of optical junctions of the plug and receptacle
21 receptacle end-seal in the mated (open) condition;                  optical contact blocks in the mated condition; and
(0033] FIG. 23 is mating-face view of the second-embodi-               (0062] FIG. 50 shows exploded views of the plug and
ment plug end-seal in the mated (open) condition:                      receptacle optical contact assemblies.
(0034] FIG. 24 is an axial cross-sectional view of the FIG.
23 plug end-seal in the mated (open) condition;                            DETAILED DESCRIPTION OF THE INVENTION
(0035] FIG. 25 is an enlarged view of the second-embodi-
                                                                       (0063] It is to be understood tlwt the figures and descrip-
ment plug stem actuator tip;
                                                                       tions of the present invention have been simplified to illustrate
(0036] FIG. 26 is a partial axial cross-sectional view of the
                                                                       elements that are relevant for a clear understanding of the
connector receptacle unit of a hybrid electro-optical connec-
                                                                       invention, while eliminating, for purposes of clarity, other
tor;
                                                                       elements that may be well known. 'll1ose of ordinary skill in
(0037] FIG. 27 shows the receptacle sliding end-seal                   the art will recognize that other elements are desirable ancl!or
assembly of the hybrid electro-optical connector;
                                                                       required in order to implement the invention. However,
(0038] FIG. 28 is an exploded view of the receptacle end-              because such clements are known in the art, and because they
seal assembly of the hybrid electro-optical connector;                 do not facilitate a better understanding of the present inven-
(0039] FIG. 29 in an exploded view of the connector recep-             tion, a discussion of such elements is not provided herein. The
tacle unit of the hybrid electro-optical connector;                    detailed description will be provided herein below with ref-
(0040] FIG. 30 is an exploded view of the receptacle base              erence to the attached drawings.
assembly consisting of the receptacle base and optical and             (0064] For purposes of the description hereinafter, the
electrical penetrmors of the hybrid electro-optical connector;         tem1s "upper", "lower", "vertical", "horizontal", "axial",
(0041] FI(j_ 31 illustrates a typical optical penetrator;              "top", "bottom", and derivatives thereof shall relate to the
(0042] FIG. 32 shows il typical electrical penetrator;                 invention, as it is oriented in the drawings. I Iowever, it is to be
(0043] FICj. 33 is a partial axial cross-section of the anterior       understood that the invention may assume various altemative
portion of the receptacle bladder of the hybrid electro-optical        configurations except where expressly specified to the con-
connector;                                                             trary. It is also to be understood that the specific elements
(0044] l.'IG. 34 is a partial cross-section of the receptacle          illustrated in the drawings and described in the l(Jllowing
end-seal in the open position of the hybrid electro-optical            specification are simply exemplary embodiments of the
connector;                                                             invention. Therefore, speciflc dimensions, orientations and
(0045] FIG. 35 is a partial cross-section of the receptacle            other physical characteristics related to the embodiments dis-
end-seal in the closed position of the hybrid electro-optical          closed herein are not to be considered limiting.
connector;                                                             (0065] A first embodiment in accordance with the present
(0046] FIG. 36 is a pi!rtial axial cross-sectional view of the         invention will be described below with reference to the
connector plug unit of the hybrid electro-optical connector;           accompanying drawings. FIGS. 1 through 19 describe an
(0047] FIG. 37 shows the plug sliding end-seal assembly of             embodiment of a coupling meclwnism that permits two
the hybrid electro-optical connector:                                  closed, independent reservoirs to be joined and subsequently
(0048] FIG. 38 is an exploded view of the plug end-seal                separated while remaining at all times sealed from the in -situ
assembly of the hybrid electro-optical connector;                      environment. The reservoirs may be any receptacle or cham-
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ber such as tubes, sacs, vials, bottles, etc. The reservoirs lOa       FIG. 9. Seal elements 201, along with back support 203 and
and 20a (FIGS. 16, 17) are coupled together by respective              spring retainer ring 206 arc substantially fixed relative to one
first and second coupler units in the form of a receptacle             another. Spring 205 (FIGS. 11 and 13) is free to flex along its
end-seal assembly 10 and a plug end-seal assembly 20 dis-              axis within spring bore 204. Seal clement 202 (FIG. 15) is a
cussed in more detail below. Alternatively, the coupler units          sub-assembly including an integral spine 207, acmator pin
described herein could be used to couple a reservoir to the            230 and resilient seal element 208. Ribs 234 on spine 207
surrounding environment.                                               reduce friction between spine 207 and bore 204 as the spine
(0066] The first embodiment ofFIGS. 1-19 includes rcccp-               slides within the bore. Seal sub-assembly 202 is free to slide
tacle end-seal assembly 10, the details of which are shown in          laterally within slot 211 of seal element 201, moving against
FIGS.l-7, whichismateablewithplugend-sealassembly20,                   spring 205. Seal elements 201, 202 have raised surfaces 209,
the details ofwhich are shown in FIGS. 8-15. Each of end-              210 (FIG. 9) respectively. Raised surface 209 is generally
seal assemblies 10, 20 has a forward end, a rear end and a             "C-shaped" as shown in FIG. 9 and includes interior surJaces
longimdinal axis. The forward end of the receptacle end-seal           216, 217 and 220 fonning an opening 215. Portion 214 of
assembly 10 is mateable with the forward end of the plug               resilient seal element 208 of seal element 202 is free to slide
end-seal assembly 20 as shown in FIGS. 16 -18 · The recep-             laterally within slot 211 of seal element 201. Portion 212 of
tacle end-seal assemblv 10 includes two resilient seal ele-
ments 101 (FIG. 2 ), 10•2 (FIGS. 2 and 7), back support 103            spine 207 is similarly free to slide within spring bore 204 of
                                                                       back support 203 in unified motion with portion 214 of seal
~~~~~~f;1~~~:~~~!~i~~:~~~ ~1J~~~·:I~d~;;~~!l~~1~e~I~o2 /~
                                                             4
                                                                       element 201, the two elements 214 and 201 being parts of an
movable within end seal element 101 between a first position           integral sub-assembly including actuator pin 230. Actuator
(FIGS. 1, la and 4) when plug and receptacle units 10, 20 are          pin 230 is fixed into seat 235 of spine 207 (FIG. 15).
unmated, to a second position (FIGS. 3, 3a and6) when the              (0069] Opening 215 (FIG. 9) of"C-shaped" raised surface
units are mated. Elements 101, 102 ofplug end-seal assembly            209 extends axially through seal element 201. Surfaces 216
10 are shown juxtaposed for clarity in FIG. 2. Seal elements           and 217 of the C-shaped opening 215 sealably Jlt to corre-
1 01, back support 103 and spring retainer ring 106 are sub-           sponding surfaces 218 and 219 of resilient seal element 208 of
stantially fixed relative to one another. Spring 105 is free to        seal element 202. Surface 220 of seal element 201 confonllS
flex along its axis within spring bore 104. Seal element 102           to surface 221 of resilient seal element 208. Surface 221 is
(FIGS. 2 and 7) is a sub-assembly comprising integral spine            sealably pressed against surface 220 by spring 205 when seal
107 and resilient seal element 108. Seal sub-assembly 102 is           assembly 20 is in the unmated (closed) condition (FIG.ll).
free to slide laterally within slot 111 (FIGS. la, 3a, 4 and5)         Surface 224 on wide portion 214 of seal element 208 is free to
of seal element 101, moving against spring 105. Seal ele-              slide sealably along surJ~Jce 223 of slot 211 in seal element
ments 101, 102 have raised surfaces 109, 110 (FIGS. la, 3a,            201 (FIG.l2). Portions of the surface 224 remain scalably in
4 and 6) respectively. Raised surface 109 is generally                 contact with surface 223 of slot 211 in seal element 201 at all
"C-shaped" as shown in FIG. 2 and includes interior surfaces           times. Passage 225 through back support 203 ventilates
116,117 and 120 forming an opening115. Spine 107 includes              spring bore 204 to the plug reservoir 20a (FIGS. 11 and16).
a central guide portion 112 (la, 3a and 7) which is similarly          Note therelixe that spring bore 204 is e!Tectively an extension
free to slide laterally in unison with seal element 108 of seal        of the plug reservoir 20a.
sub-assembly 102, the two elements 107 and 108 being parts             (0070] Tubular plug stem 226 (FIGS. 11-13 and 16-19) of
of the integral sub-assembly.                                          plug seal assembly 20 is fitted on its anterior end with actuator
(0067] Opening 115 of "C-shaped" raised surface 109                    tip 227. Actuator tip 227 has angled faces 228 (FIGS. 14 and
extends axially through seal element 101. Surfaces 116 and             19) that approximately confi:mn to angled face 212 (FIG.l5)
117 of the C-shapcd opening sealably Jlt to corresponding              of spine 207 in seal sub-assembly 202. Seal clement 202
surfaces 118 andl19 (FIGS. 2, 5 and 7) of seal element 108.            further includes a spring 229 suitably fixed within the paste-
Surface 120 of seal element 101 confonns to surface 121                rior portion of the plug reservoir 20a, and surrounding plug
(FIG. 2) of seal element 108. Surface 121 is sealably pressed          stem226. Except for plug stem 226 with actuator tip 227 and
against surl~1ce 120 by spring I 05 (FIG. 1 a) when seal assem-        spring 229, the other elements or seal assembly 20 can be
bly 10 is in the unmated (closed) condition (FIG. 1). Surface          forced to move axially inward thereby compressing spring
124 (FIG. 7) on wide portion 114 (FIG. 5) of seal element 108          229. When seal assembly 20 is in the unmated condition (FIG.
is free to slide sealably along surface 129 (FIGS. 4 and6) of          11), spring 229 acting against surface 203a of back support
seal element 101. Portions of the surface 124 remain sealably          203 keeps the axially movable elements or seal assembly 20
in contact with surface 129 of slot 111 in seal element 102 at         positioned such that actuator tip 227 is just inboard of Ji1ce
all times. Passage 125 (FIG. 4) through back support 103               212 of seal sub-assembly 202. Rearward axial force applied
ventilates spring bore 104 to the receptacle reservoir lOa of          to faces 209, 210 of seal assembly 20 causes the axially
the assembly. Note therefore that spring bore 104 is efTec-            movable portions of the seal assembly to move inward, com-
lively an extension of the receptacle reservoir 1 Oa.                  pressing spring 229 and causing ];Ices 228 or actuator tip 227
10068) Plug end-seal assembly 20 (FIGS. 8 through 15)                  to move against E1ce 212 of seal sub assembly 202. The action
includes two resilient seal elements 201 (FIG. 9), 202 (FIGS.          causes seal sub-assembly 202 to move laterally outward,
9 and 15), back support 203 (FIG. 11), spring guide-bore 204           much the same as the strike plate on a residential door lock
(FIG. 11), spring 205 (FIG.ll), and spring retainer ring 206           causes the lock's bolt to move aside. As sub-assembly 202
(FIG. 11). End-seal assembly 202 is movable within end seal            moves laterally outward, spring 205 compresses against
element 201 between a first position (FIG. 8) when plug and            spring retainer ring 206. As the movable elements of seal
receptacle units 10, 20 are unmated, to a second position              assembly 20 move Ji.1rther axially inward plug stem 226Ji.Jlly
(FIG. 10) when the units are mated. Elements 201, 202 of               passes beyond faces 209 and 210 of the seal assembly (FIG.
plug end-seal assembly 20 are shownjuxtaposed for clarity in           13).
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 [0071] FIGS. 16, 17 and 18 illustrate various stages of the           against face 233 (FIG.19) of plug stem226. Face 233 of plug
plug and receptacle mating sequence. When plug seal assem-              stem226 may be conl]gured to confonn to faces 121, 221, and
bly 20 and receptacle seal assembly 10 are mated the two                the other faces of plug stem 226 may he configured to con-
units are first brought into rotational and axial alignment as         form to their respective other elastomeric faces of openings
shown on FIG. 16. The units are next pressed axially together          115, 215, and plug stem 226 may be sized to have a slight
as shown in FIG. 17, the action causing faces 109, 209 and             interference fit to the resilient faces; such that a second level
110, 210 respectively to sealahly press against each other, and        of sealing is achieved between the mated plug and receptacle
simultaneously causing actuator pin 230 of plug sub-assem-             reservoirs 20a, lOa and the outside environment. Such a
bly 202 to fully engage bore 126 of receptacle sub-assembly            second sealing barrier is often a reliability requirement.
102 (FIG. 17). Sub-assemblies 102, 202 are thus locked in               [0075] The second coupler embodiment (FIGS. 20-25) will
such a way that lateral outward movement of one of the                 be easily understood from the foregoing description of the
sub-assemblies is faithfi1lly trncked by identicallaternl out-         first embodiment and the following discussion. The primary
ward movement of the other sub-assembly. It is noted that the          ditlerence between the two embodiments is that the second
interface between seal assembly 10 and seal assembly 20 is at          embodiment employs two radially opposed sliding seal sub-
this point completely sealed from the outside environment.             assemblies instead of only one. The second embodiment can
 [0072] With fmther engagement (FIG. 18), the applied                  be somewhat more compact; it requires that in order to form
axial force overcomes the pre-load of spring 229. Spring 229           the same size opening through the mated end seals each
compresses and forces plug and receptacle seal assemblies              second-embodiment seal sub-assembly has to move only half
10, 20 more tightly together. The increased engagement                 the lateral distance as docs the single seal sub-assembly of the
moves act11atortip 227 of seal assembly 20 against face 212 of         first embodiment. However, the second embodiment has
spine 207 of sub-assembly 202, thereby moving the sub-                 more parts; and it is more complicated. Choice of the first or
assembly laternlly outward. As plug sub-assembly 202 moves             second embodiment therefore depends on the particular
laterally outward receptacle sub-assembly 1 02moves in lock-           application.
step with it as a result of the engagement of actuator pin 230          [0076] FIG. 20 is a mating-lace view of the second-em-
in bore 126. It is noted that as the aforementioned sub-assem-         bodiment receptacle end-seal in the unmated (closed) condi-
blies move laterally outward their opposed faces 110, 210              tion. This second-described embodiment of the invention
remain sealed together, and they each remain sealed within             employs two movable sliding-seal sub-assemblies in each of
theirrespective end seal assemblies 10, 20. Thus, the interface        the plug and receptacle units (FIGS. 21~23). Receptacle end-
between plug and receptacle assemblies 10 and 20 remains               seal assembly 30 includes three resilient seal elements 301,
sealed from the outside environment during the entire mating           302a, 302b, hack support 303 (FIG. 22), spring guide-bores
process. As mating completes, plug stem 226 with actuator tip          304a, 304b, springs 305a, 305b, and spring retainer rings
227 passes through the resilient elements of plug seal assem-          306a, 306b. Seal clement 301 along with back support 303
bly 20, thence through receptacle seal assembly 10 and into            and spring retainer rings 306a, 306b are substantially fixed
the receptacle reservoir lOa. Passages 231 and 232 of plug             relative to one another. Springs 305a, 305b are free to flex
stem226 and actuator tip 227 respectively thus fonn an open            along their axes within respective spring bores 304a, 304b.
channel through plug and receptacle elastomeric end-seals,             Seal elements 302a and 302b (FIG. 20) are sub-assemblies
thereby joining the plug and receptacle reservoirs 20a, lOa.           which are for all practical purposes identical to sub-assem-
[0073] When the coupler is fully mated, the interface                   blies 102 of the first-described coupler embodiment. Seal
between receptacle and plug assemblies 10, 20 is scaled from           element 301 has raised surfaces 309a, 309b (FIG. 20). Seal
the outside environment due to the fact that compressed plug           sub-assemblies 302a, 302b are free to slide laterally within
spring 229 fim1ly presses receptacle l~1ces 109, 110 against           their respective slotted seats in element 301 in just the same
respective opposed plug faces 209, 210. The other resilient            way that sub-assembly 102 was free to slide within its slotted
interfaces in seal assemblies 10, 20 remain sealed at all times.       seat in seal element 101 of the previously described first
The demating operation is just the reverse of the mating               embodiment of the receptacle seal assembly.
sequence. Therefore, the coupler is sealed from the outside             [0077] Plug end-seal assembly 40 (FIGS. 23-25) includes
environment hefi.Jre, during, and aller mating. ln the mated           three resilient seal clements 401, 402a, 402b; back support
connector, slots 127, 128 (FIGS. 1 and 3) in receptacle end-           403 (FIG. 24); spring guide-bores 404a, 404b; springs 405a,
seal assembly 10 cooperate with slots 236, 237 (FIGS. 8-10)            405b; and spring retainer rings 406a, 406b. Seal element 401
in plug end-seal assembly 20 to ventilate bore 126 of seal             along with hack support 403 and spring retainer rings 406a,
sub-assembly 102 which is axially arranged with slot 127 in            406b are substantially fixed relative to one another. Springs
raised surface 110 of receptacle suh-<~ssemhly 102. The slots          405a, 405b are free to flex along their axes within respective
also ventilate the exposed portion of surface 124 of 11exible          spring bores 404a, 404b. Seal elements 402a and 402b (FIG.
element 108. Without the slots the small volumes they venti-           23) are sub-assemblies which are for all practical purposes
late would be sealed both from plug reservoir 20a and recep-           identical to sub-assembly 202 of the llrst described embodi-
tacle reservoir lOa (FIG. 17), and from the ambient in-situ            ment. Seal element 401 has raised surfaces 409a, 409b. Seal
enviromnent. In the case where the in-situ environment is              elements 402a and 402b have raised surfaces 410a, 410b
highly pressurized, such as in the deep sc<~. without such             respectively. Seal sub-assemblies 402a, 402b are free to slide
ventilation the small volumes would collapse, possibly dam-            radially within their respective slotted seats in element 401 in
aging the end-seal assemblies and causing failure of the con-          just the same way that sub-assembly 202 was lrce to slide
nected units.                                                          within its slotted seat in seal element 201 of the previously
[0074] In the foregoing discussion there has been no                   described first embodiment of the plug seal assembly.
requirement to achieve a seal to plug stem 226. Note, how-              [0078] Tubularstem426 (FIG. 24) of plug seal assembly 40
ever, that receptacle and plug shuttle springs 105, 205 urge           is llttcd on its <Interior end with actuator tip 427. Actmtor tip
faces 121. 221 of seal sub-assemblies 102. 202 respectively            427 (FIG. 25) has ;mgled faces 428a, 428b that approximately
                                                             Exhibit A-26
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 conform to angled faces 412a, 412b of seal sub-assemblies                 from the external environment When the plug and receptacle
 402a, and 402h respectively. Except for plug stem 426 with                units 600, 500 are mated, the first and second chambers arc
 actuator tip 427 and spring 429, the other clements of seal               sealably joined together, thereby joining the respective first
 assembly 40 can be forced to move axially inward thereby                  one or a plurality of contact junctions to a respective second
 compressing spring 429. When seal assembly 40 is in the                   one or a plurality of contact junctions. When the units 600,
 unmated condition, spring 429 acting against surface 431 of               500 are subsequently demated the first and second chambers
 back support 403 keeps the axially-movable elements of seal               are once again separately sealed from the operating environ-
 assembly 40 positioned such that actuator tip 427 is just                 ment. The contact junctions can join, for example, the con-
 inboard of angled faces 412a, 412b of seal sub-assemblies                ductors of various subsea electrical and/or fiber optical
 402a, and 402b respectively. A rearward axial force applied to           cables.
 faces 409a, 409b and 410a, 410b of seal assembly 40 causes                [0082] The stmcture of receptacle unit 500 is shown in
 the axially movable portions of seal assembly 40 to move                  FIGS. 26 through 35. For clarity, in FIG. 26 receptacle front
 inward, compressing spring 429 and causing faces 428a,
                                                                           shell 502, resilient bladder 520, and back-up block 530 are
428b of actuator tip 427 to move against faces 412a, 412b of
                                                                           shown cut-away in axial half-section. FIG. 29 shows the
 seal sub-assemblies 402a, and 402b respectively. The action              receptacle components in exploded view. Receptacle front
causes sub-assemblies 402a, and 402b to move laterally out-               shell 502 cooperates with receptacle rear nut 503 to f(mn the
ward, in a manner identical to the similar movement of sub-               outer rigid portion of unit 500. Wrench flats 507 (FIG. 29) of
assembly 202 of the previously described first embodiment of
                                                                          receptacle front shell502 and wrench flats 508 (FIG. 26) of
the invention. As sub-assemblies 402a, and 402b move later-
                                                                          receptacle rear nut 503 aid to tighten threaded junction 538
ally outward, springs 405a, 405b compress against respective              between front shell 502 and rear nut 503. Front end 504 of
spring retainer rings 406a, 406b. As the movable elements of              receptacle shell 502 arrests the forward axial motion of the
seal assembly 40 move fi.1rther axially inward plug stem 426              internal portions of unit 500, wlliie rear nut 503 anests the
fully passes beyond faces 409a, 409b and 410a, 410b of the
                                                                          rearward motion of the inner portions. Shoulder 510 of recep-
seal assembly (riG. 24).                                                  tacle base 511, and back plate 512 are axially captured
 [0079] In the preceding discussion of the second embodi-                 between face 513 of rear nut 503 and face 514 of front shell
ment of the invention there has again been no requirement to              502.Aiignment pin515 (FIG. 29) is housed in bore516 (FIG.
achieve a seal to plug stem 426. Note that, similar to the f)rst          26) offront shell502, and resides in slot 517 of shoulder 510
embodiment, when the exterior faces of plug stem 426 is                   of receptacle base 511 and in slot 518 of back plate 512
configured to confonn to the respective resilient faces of                thereby rotationally locking receptacle base 511 and back
openings 315, 415, and when plug stem426 is sized to have a               plate 512 to front shell502. Reservoir519 (FIG. 26) is defined
slight interference fit to the resilient faces, a second level of         by resilient bladder520 with rear sealing shoulder 528, recep-
scaling is achieved between the mated plug and receptacle                 tacle base 511 with o-ring seal 527, and end-seal assembly
reservoirs and the outside environment just as it was for the             521. Reservoir 519 is filled with a benign mobile substance
first embodiment.                                                         522 (hereafter called a "fluid" for brevity). Fluid 522 is typi-
[0080] There are many harsh-environment applications                      cally chosen to have an optical index of refraction which
that require electrical connections and/or some combination               closely matches that of the optical fibers (if any) to be con-
of electrical and fiber-optical connections to be housed within           nected, to be substantially non-conductive electrically, and to
the same connector units. FIGS. 26 through 50 illustrate a                be chemically compatible with the other elements of the
third embodiment of the coupling mechanism configured for                 connector mlit with which it comes in contact. Fluid 522, for
use as an electrical, optical, or hybrid electro-optical connec-          example, may be a dielectric substance such as an oil. Vent
tor, and having a single sliding end-seal assembly in each of             tube 523 is open to the operating environment through port
the plug and receptacle. Alternatively, the connector depicted            524. Radial ports 525 in vent tube 523 communicate the
in FIGS. 26 through 38 may also be reconfigured with two                  extemal environment to annular space 526 fonned between
radially opposed sliding seal sub-assemblies as described                 receptacle shell 502 and flexible chamber wall 520a of blad-
above with respect to FIGS. 20 through 25. Note that in the               der 520, thereby balancing the pressure of fluid 522 within
embodiment next described, the contact assemblies are not                 chamber 519 to that of the outside environment. Vent tube 523
arranged along the plug and receptacle center axes as in the              is rigidly fixed to front end 504 of receptacle shell 502.
previous embodiment, but rather are displaced to one side to              Back-up block 530 is rotationally aligned by engagement
conserve radial space.                                                    with axially-offset standoff 534 which projects forward from
[0081 J The third-described coupler embodiment shown in                   receptacle base 511. Tolerances of the engagement between
FIGS. 26 through 50, illustrates a connector suitable J(Jr vari-          back-up block 530 and standofl534 are chosen so as to penni!
ous harsh environment applications including subsea tele-                 a controlled compliance of axial tilt and offset between said
communications, submarine systems, underwater oil and gas                 back-up block and said standoJT. Bladder 520 is maintained in
systems, etc. The connector may also be used in many other                a substantially compliant rotational alignment within shell
harsh applications due to the !~1ct that the optical and electrical       502 by trapping vent -tube seat 593 between vent tube 523 and
contacts remain sealed from the outside environment at all                cut-out 592 of back-up block 530.
times including bei<Jre. during and after mating of the recep-            [0083] Refening to FIG. 29, contact housing 529 is
tacle unit 500 and the plug unit 600.ln the illustrated embodi-           mounted to back-up block 530 by screws 531. Receptacle
ment, the receptacle unit 500 and the plug unit 600 each cany             mainspring 532 seats to extension 533a of standoff 534 of
electrical and/or optical contacts. Specil1cally, the plug unit           receptacle base 511, and is guided by bore 533b of back-up
600 houses a first one or a plurality of contact junctions within         block 530. Receptacle mainspring 532 serves to urge back-up
a Jlrst chamber sealed from the external environment. The                 block 530 against front wall 535 of resilient bladder 520.
receptacle unit 500 houses a respective second one or a plu-              thereby squeezing front wall 535 between back-up block 530
rality of contact junctions within a second chamber sealed                and front end 504 of receptacle shell 502, thus serving to
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guarantee the forward axial position of C-shaped projection            (FIG. 26), sized to fit snugly to optical penetrator nipple 559
546 of front wall 535. C-shapcd projection 546 forms the               or electrical pcnctrator nipple 569. Optical penetrators 554
fixed portion of the receptacle end-seal. End-seal assembly            and electrical penetrators 562 are loaded into bores 567 in
521 shown in FIGS. 27 and 28 is the laterally-sliding portion          receptacle seat 511 from the rear. Shoulders 569 and 570 on
of the receptacle end seal is the equivalent to receptacle end         optical penetrators 554 and electrical penetrators 562, respec-
seal102 of the previously described first embodiment of the            tively, limit the forward travel of the penetrators witllin bores
plug seal assembly. The end-seal assembly 521 includes a               567. Bores 568 (FIG. 29) in back-plate 512 are sized to fit
rigid seal-mount 547 (FIG. 28) and resilient seal 548. Resil-          snugly to optical penetratornipple 571 or electrical pcnctrator
ient seal 548 is affixed to seal mount 547 by adhesive bond or         nipple 572. Shoulders 573 and 574 on optical penetrators 554
by other standard means. Raised ribs 549 on seal mount 547             and electrical penetrators 562, respectively, reacting against
fit slidably into slots 550 of back-up block 530, thereby per-         face 575 of back plate 512 limit the rearward travel of the
mitting end-seal assembly 521 to accurately slide laterally            penetrators within bores 567.
within back-up block 530. Receptacle shuttle spring 563 acts           [0086] Tabular portion 580 (FIG. 27) of end-seal assembly
against portion 564a (FIG. 35) of seal mount 547, thereby              521 fits snugly within slot 581 (FIG. 33) of resilient recep-
urgii1g end seal assembly 521laterally inward. Shuttle spring          tacle bladder 520. Receptacle mainspring 532 acting with
563 is retained in partially-open bore 565 of back-up block            back-up block 530 insures that tabular portion 580 is seal ably
530 by retainer ring 566, the ring being seated in groove 567a         squeezed between end wall 578 and inner wall 582 ofbladder
of back-up block 530.                                                  520. Furthermore, opposed side lobes 576 of tabular portion
[0084] Contact housing 529 is slidably fitted within                   580 stretch-fit laterally into side slots 583 of slot 581, thereby
through-port 536 (FIG. 29) of back-up block 530. Optical               sealing to the side slots. End portions 584 (FIG. 28) of resil-
contact-block 537 seats within rectangular socket 579 of con-          ient seal 548 sealably press to side walls 585 of raised
tact housing 529 and is fixed to the contact housing 529 by            C-shaped projection 546 of bladder 520. Receptacle end-seal
pressed-in pins 539 or by other standard means. Pin 540                assembly 521 is free to move laterally between an outward
shown in FIG. 29 is an assembly aid. It passes through                 position, as shown in FIG. 26 and full axial cross-section in
opposed, axially-elongated, slots 542 in back-up block 530;            FIG. 34, in wllich an opening 586 exists in the anterior end of
and is press-lit or otherwise fixed in bore 541 of receptacle          receptacle 500 and an inward position, as shown in full axial
base 511, thereby linliting the axial movement between                 cross-section in FIG. 35, in which the anterior end of the
receptacle base 511 and the back-up block 530 during assem-            receptacle is closed and sealed. When receptacle 500 is
bly. One or a plurality of optical contact assemblies 551 are          closed, in addition to the aforementioned seals, face 587 of
suitably mounted in optical contact block 537 and are temli-           resilient seal548 (FIG. 28) is pressed tightly by shuttle spring
nated to a respective one or a plurality of optical fibers 552         563 (FKr. 29) against resilient l~1ce 588 ofC-shaped projcx-
which may be routed through respective furcation tubes 553             tion 546 of bladder 520 (FIG. 33), thereby scaling that inter-
thence through respective optical penetrators 554 (one                 face. As end-seal assembly 521 slides sealably between its
example is shown in FIG. 30 and in axial cross-section in FIG.         inward and outward positions, fluid 522 is exchanged through
31). Typical optical penetrator554 comprises rigid body 555,           port 589 in bladder 520 to prevent hydraulic locking of tab
tHings 556 and shaped through-bore 557. A typical optical              580 within slot 581. Ribs 590 and 591 (FI< r. 33) on portions
fiber is scalably affixed with epoxy or another suitable adhe-         of end-walls 578, 582 of bladder 520 allow the end-wall
sive sealant within bore 557 by standard means. One end of             portions to be firmly squeezed axially by receptacle main-
typical elastomeric sleeve 558 (FIG. 26) fits snugly over              spring 532 while still Jacilitating resilient deformation of the
nipple 559 of typical optical penetrator 554. The other end of         end-walls, thereby improving the conformation of the end-
typical elaslomeric sleeve 558llts snugly to typical respective        wall portion to tabular portion 580 of end-seal assembly 521.
fl.1rcation tube 553.                                                  [0087] The structure of plug unit 600 is shown in FIGS. 36
[0085] Electrical contact-block 543 (FIG. 29) seats witllin            through 42b. For clarity, in FIG. 36 plug front shell 602,
rectangular socket 544 of contact housing 529 and is fixed to          resilient bladder 620 and hack-up block 630 are shown cut-
contact housing 529 by an adhesive or by other standard                away in axial half-section. FIG. 39 shows the plug compo-
means. One or a plurality of electrical contacts 560 are suit-         nents in exploded view. !'lug front shell 602 cooperates with
ably mounted in electrical contact block 543 and arc tenni-            plug rear nut 603 and plug cnd-cap623 to form the outer rigid
nated to a respective one or a plurality of insulated electrical       portion ofmlit 600. Wrench flats 608 (FIG. 39) of plug front
conductors 561 sized to fit sealably into respective contact-          shell 602 and wrench flats 607 (FIG. 36) of plug rear nut 603
block bores 561a (FIG. 47). Conductors 561 are routed to               aid to tighten threadedjunction 638 between front shell 602
respective electrical penetrators 562 (one example is shown in         and rear nut 603. Small shoulder 604 of plug shell 602 arrests
FIG. 30 and in axial cross-section in FIG. 32). Typical elec-          the forward axial motion of end-cap 623. and thereby arrests
trical penetrator 562 comprises rigid body 563, o-rings 564,           the forward axial motion of plug anterior assembly 701
and electrical conductor 566a with a solder pot 566 or other           (FIGS. 41a and 42a), \vhile rear nul 603 arrests the rearward
termination means on either end. One end of typical elaslo-            motion plug base 611. In the unmated condition, plug anterior
meric sleeve 558 fits sealably over nipple 569 of typical              assembly 701, is urged forward against shmi!der 604 by plug
electrical penetrator562. The other end of typical elastomeric         mainspring 632. Shoulder 610 of plug base 611 and back
sleeve 558 llts sealably to the insulating jacket of typical           plate 612 are axially captmed between face 613 of rear nut
electrical conductors 561. Each optical penetrator 554 (FIG.           603 and shoulder 614 of plug shell602. Alignment pin 615 is
31) and each electrical penetrator 562 (FIG. 32) is housed in          housed in bore 616 of plug shell 602, and resides in slot 617
a respective bore 567 (FIG. 30) in receptacle base 511. Bore           of shoulder 610 of plug base 611 and in slot 618 of back plate
567 has a posterior diameter sized to seal against typical             612, thereby rotationally locking plug base 6ll and hack
optical penetrator o-rings 556 (FIG. 31) or electrical penetra-        plate 612 to plug shell 602. Reservoir 619 is defined by
tor o-rings 564 (FIG. 32). and a smaller anterior diameter 568         resilient bladder 620 with outerwall620a and li"ont wall635;
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 rear sealing shoulder 628; plug base 610 with o-ring seal627;         portions of respective bladders 520, 620. Therefore, a com-
 and end-seal assembly 621. Reservoir 619 is fi1led with a             prehensive tmderstanding of the sealing between plug end-
 benign mobile substance 522 (plug and receptacle fluids are           seal assembly 621 and plug bladder 620 is easily gained by a
 typically the same). Radial space 625 between i1mer wall 676          shtdy ofFIGS. 33, 34 and 35 and their accompanying descrip-
 of plug shell602 and the outer radial wall 620a ofbladder 620         tions.
 commtuiicates to the external environment medium via a1mu-             [0090) Plug anterior assembly 701 (FIGS. 41a and 42a)
 Jar space 626 formed between plug shell 602 and plug end-             includes a lorward portion 635 (FIG. 39) of bl<Jdder 620;
cap 623, thereby balancing the pressure of fluid 522 within            back-up block 630; end-cap 623; end-seal assembly 621;
chamber 619 to that of the outside envir01m1ent.                       shuttle spring 663; retainer ring 666; and engagement pin
 [0088) Plug mainspring 632 (FIG. 39) seats in spring bore             651. Anterior assembly 701 is maintained in compliant rota-
 633 of plug stem634, the stem projecting into chamber 619             tiOJml and <~xi ally alignment with actuator stem 634 hy the fit
from plug base 611, and is guided by post 641 of back-up               tolerances of rectangular plug actuator stem 634 within rect-
block 630. Spring bore 633 of plug base 611 is ventilated by           angular through port 636 of back-up block 630. Nibs 684
port 683 (FIG. 40) in the base of plug stem 634 to prevent             (FIGS. 39 and 42a) of bladder 620 protmde radially outward
hydraulic resistance against guide post 641 during mating.             through holes 685 (FIG. 39) in end-c<Ip 623 allowing compli-
 Plug mainspring 632 serves to urge back-up block 630 against          ant radial retention of anterior <~ssembly 701 within plug shell
front wall 635 (FIG. 36) of resilient bladder 620, thereby             602. Anterior assembly 701 is axially slidable <IS a monolithic
squeezing front wall 635 between the back-up block and the             unit within plug shell 602 between a forward position as
inner surface of end-cap 623; thus serving to guarantee the            shown in FIG. 4la, and a rearward position as shown in FIG.
forward axial position ofC-shaped projection 646 (FIG. 39)             42a. Nibs 684 ride against inner wall 676 of plug shell 602,
of front wall 635 with respect to end-cap 623, and further             keeping anterior assembly 701 approximately radially cen-
assuring that the end-cap and bladder front-wall 635 are               tered <IS it moves from a forwmd to 3 rearwmd position. Nibs
simultaneously urged axially in the forward direction.                 684 also serve to minimize friction and galling as might occur
C-shaped projection 646 forms the fixed portion of the plug            if the contact between adjacent sliding surfaces within the
end-seal. End-seal assembly 621 shown in fiGS. 37 and 38 is            plug were metal-to-metal, and pennit some compliance in the
the lateral-sliding portion of the plug end seal. 'll1e end-seal       !It of anterior assembly 701 within plug shell 602. When the
assembly includes a rigid seal mount 647, acnwtor pin 629,             plug anterior <Jssemhly is in the :torwmd position as shown in
rod 631, and resilient seal 648. Seal 648 is affixed to seal           FIG. 41a, end-seal assembly 621 is closed (FIG. 41b), as it
mount 647 by adhesive bond or by other standard means. Rod             would be when the connector plug and receptacle tmits are not
631 is free to rotate within partial bore 652 in seal mount 647.       mated, and end-seal 648 is pressed tightly against raised
Rod 631 serves to reduce friction between tapered plug tip             C-~haped fixed end-seal projection 646. When plug anterior
681 and end-seal assembly 621 during mating (FIG. 42a).                assembly 701 is in the rearward position as shown in FIG.
Raised ribs 649 on seal mount 647 fit slidably into slots 650          42a, end-seal<Issembly 621 is open (PIG. 42b), as it would be
(FIG. 39) of back-up block 630, thereby pennitting end-seal            when the connector plug and receptacle units me mated.
assembly 621 to accurately slide laterally within the back-up          [0091) Plug unit 600 and recept<~cle unit 500 are shown
block. Plug shuttle spring 663 acts against the rear surE1ce of        unmated in PIGS. 43 and 44; and shown mated in FIG. 45.
portion 664 of seal motmt 647, thereby urging seal assembly            Mating of receptacle unit 500 and plug unit 600 is as follows.
621 laterally inward. Shut1le spring 663 is retained in par-           Raised axial ribs 505 spaced radially at intervals on the outer
tially-open bore 665 of back-up block 630 by retainer ring             surface of receptacle front shell 502 flt closely to raised lands
666, the ring being seated in groove 667 of back-up block              605 on inner wall 676 of plug shell 600, thereby axially
630.                                                                   aligning the receptacle and plug shells when the units me
[0089) The rectangular exterior of the anterior portion of             mated (FIGS. 43 <Jnd 44). Keyv,·ay 506 fanned between two
plug stem 634 is slidably engaged axially within rectangular           of ribs 505 of receptacle front shell502 cooperate with inward
through-port 636 (FIG. 39) of back-up block 630. Tolerances            projecting key 606 of plug front shell 602 to rotationally align
between the respective, engaged, rectangular fean1res are              plug front shell 602 and receptacle front shell 502 as mating
chosen to permit a controlled amount compliance in axial tilt,         of the plug and receptacle proceed~. Equalization of pressure
offset, and rotational alignment between the stem and back-            between the outside environment and the interior portions of
up block. Engagement pin 651 (fiG. 36) is rigidly fixed to             the plug and receptacle units is achieved as follows. Sm<Jller
plug end-cap 623. Inward projection 653 of engagement pin              diameter portions 509 between ribs 505 of receptacle shell
651 flts into socket 654 ofhladder anterior wall 635 aiding the        502 aligned with corresponding larger diameter plug-shell
rotational alignment of the end-cap to bladder 620. Optical            portions between lands 605 on inner wall 676 provide Jree
contact-block 637 (PIG. 40) is fixed within the open anterior          ventilation paths between the inner wall676 of plug shell602
portion of plug stem 634 by set screws 639 or by other                 <Ind the outside of recept<Icle front shell 502 during and after
standard means. Electrical cont<Jct-block 643 is flxed by an           the mating of plug 600 and receptacle 500. During mating, as
adhe~ive or by other ~tandard mean~ within the open anterior           anterior assembly 701 moves from it~ l(Jrward position to it~
portion of stem 634. The plug optical and electrical penetra-          re<~rw<Ird position bladder 620 is ilweshortenecl axially. Blad-
tors <Ind the routing of optical <~nd electrical conductors            der wall 620a is designed so that chamber 619 remains of
within the plug me identical to those of the receptacle                subst:mtially constant volume during the foreshortening, the
described earlier. The mounting of optical and electric<Il pen-        constant volume being maintained by a net outward expan-
etrators, 561, 562 within plug 600 are likewise identical the          sion of outer w<J!I 620a. That means the volume of space 625
manner in which they are mounted in receptacle 500. For                (FIGS. 41a and 42a) between outerwall620a of bladder 620
brevity, the description is not repeated here. The plug and            mid inner wall 676 of plug shell 602 proportionately dimin-
receptacle end-seal assemblies, 521, 621 respectively. are             ishes as ;:mterior assembly 701 moves toward its rearward
only slightly different fium each other. as are the anterior           position. thereby expelling the material displaced from space
                                                             Exhibit A-29
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625 externally through the aforementioned ventilation paths.          If there is some pumping of fluid between the chambers
Assembly port 670 (FIG. 44) in plug shell 602 allows easy             during mating or demating the chamber volumes can
access for the assembly of inward projecting alignment key            exchange fluid through the open passages to equalize any net
606 (FIG. 45), and furtherpennits a ventilation path from the         fluid exchange. As previously stated plug bladder wall 620a
outside enviromnent to the space between receptacle shell             changes shape to maintain a substantially constant volume of
502 and plug shell 602 when the units are fi1lly mated. As            chamber 619 during the foreshmtening of the chamber as
mating proceeds, axially and rotationally aligned receptacle          anterior assembly 701 moves between its forward and rear-
500 enters plug shell 602 until shaped ends 671 (FIGS. 41a            ward positions. Receptacle chamber 519 is also maintained at
                                                                      nearly constant volume during mating by the distortion of
and 42a) of outwardly-projecting tines 673 of plug end-cap
                                                                      chamber wall 520a and the concomitant expelling of a rela-
623 encounter tapered ramps 594 (FIG. 43) of receptacle shell
                                                                      tively small amount of material from space 526 through the
502. The ramps 594 spring the tines outward, trapping shaped
                                                                      ventilation path provided by vent tube 523.
ends 671 (FIGS. 41a and 42a) in groove 674 of plug shcll602,
and thereby temporarily arresting any possible inward move-           (0093] A partial axial cross-section of mated plug and
ment of plug anterior assembly 701. Receptacle 500 enters             receptacle units 600, 500 is shown in FIG. 46. Hollow tapered
plug 600 further, and engagement pin 651 (FIGS. 41a and               tip 681 of plug stem 634 penetrates receptacle chamber 519
42a) enters port 524 (FIG. 26) of vent tube 523, thereby              capturing receptacle contact housing 529 within confonnal
locking the rotational and lateral alignment of anterior assem-       cavity 682 (FIG. 40) of plug stem 634, and simultaneously
bly 701 and receptacle 500. Flats 677 on engagement pin 651           engaging receptacle optical and electrical contact blocks 551,
provide ventilation armmd the pin into bore 524 of vent tube          543 (FIG. 29) with respective plug contact blocks 637, 643
523. Slot 691 (FIG. 42b) on the front face of plug end-cap 623        (FIG. 40).
leads from the outer diameter of the end cap to the base of           (0094] The rotational and axial alignment sequence leading
engagement pin 651 thereby ventilating socket 524 of recep-           to successful engagement of electrical and optical plug and
tacle vent tube 523 when the connector plug and receptacle            receptacle contacts is as follows with rcterence to FIGS.
units are fi1lly mated. Plug actuator pin 629 enters actuator         43-45. First, the exterior plug and receptacle shells (602, 502)
socket 595 of receptacle end-seal assembly 521. Flats 678 on          are aligned by way of the close fit between the exterior of
actuator pin 629 provide ventilation around the pin into actua-       receptacle shell 502 and raised lands 605 within the bore of
tor socket 595 of receptacle sliding seal assembly 621. Fur-          plug shell 602, and by way of inward projecting alignment
ther receptacle and plug engagement presses together axially-         key 606 acting in alignment slot 506. Next, the mating faces
resilient C-shaped projections 546, 646 ofreceptacleand plug          ofthe plug and receptacle end assemblies are fi1rther aligned
units, respectively, and simultaneously presses together ante-        by plug engagement pin 651 engaging within receptacle port
rior lace 596h of receptacle resilient end seal 548 against           524. Compliance of plug anterior assembly 701 within plug
anterior face 675 (FIG. 38) of plug resilient end scal648 (FIG.       shell 602 permits anterior assembly 701 to move into align-
41b), thereby completely sealing the interface between plug           ment (FIGS. 41a and 42a). That is followed by the engage-
chamber 619 and receptacle chamber 519 from the outside               ment of plug acnmtor stem 634 within through-port 536 of
environment. Slots 596 (FIG. 27) in receptacle end seal               receptacle back-up block 530 (FIG. 46). The compliant
assembly 521 and slots 679 (FIG. 38) of plug sliding end-seal         mounting of back-up block 530 within receptacle shell 502
assembly 621 arc axially opposed to provide a ventilation             permits back-up block 530, as well as the components fixed to
path into socket 595 of sliding end-seal assembly 521 when            it, to move into alignment with plug actuator stem 634. The
the sliding end-seal assemblies are pressed against each other.       next alignment step occurs when receptacle contact housing
At a point in the continued insertion of receptacle 500 into          529 enters conformal cavity 682 (FIG. 40) in the anterior
plug 600 where the face-to-J~1ce pressure between the afore-          portion ofplug actuator stem 634. The compliance ofback-up
mentioned end-seals reaches a value detcnnined by the pre-            block 530 with attached contact housing 529 permits suffi-
load axial force developed by plug mainspring 632, shaped             cient movement to allow the aligmnent to take place. TI1e final
ends 671 (FIGS. 41a and 42a) of outwardly-projecting tines            alignment of electrical and optical contacts is possible by way
673 of plug end-cap 623 spring inward into slots 597 (FIG.            of the compliant mounting of these elements within their
43) of receptacle shell 502, freeing them from groove 674 of          respective contact blocks (543, 643 and 537, 637 shown in
plug shell 602, and thereby permitting further inward motion          FIGS. 26 and 40).
of plug anterior-seal assembly 701.                                   (0095] FIGS. 47 and 48 illustrate axial cross-sections of
(0092] As the maling sequence proceeds, plug anterior-seal            plug and receptacle electrical contact blocks 643, 543 in the
assembly 701 (J-'J(j_ 42a) is J(Jrced inward by entering recep-       unmated and mated conditions, respectively. One or a plural-
tacle 500, forcing roller 631 of plug end-seal assembly 621           ity of receptacle electrical contacts 560 reside in resilient
against tapered tip 681 of plug actuator stem 634. Further            contact block 543, contact block 543 having a forward-pro-
impalement of the receptacle on actuator stem 634 simulta-            jecting nib 598 around the pin portion 599 of each one or a
neously pushes receptacle end-seal assembly 521, and plug             plurality of electrical contacts 560. One or a plurality of plug
end-seal assembly 621 laterally outward, the end-seal assem-          electrical contacts 660 reside in resilient contact block 637,
blies being locked together by acnwtor pin 629 and acnwtor            contnct block 637 having a forward projecting bore 698 Jc1f-
socket 595. As mating completes, plug anterior assembly 701           ward of the socket portion 699 of each one or a plurality of
moves from an outward position (FIG. 4la) to an inward                electrical contacts 660. I3ores 698 may have tapered
position (FIG. 42a) and end-seal assembly 621 moves from a            entrances 622 to facilitate receiving receptacle contact nibs
closed position (FIG. 41b) to an open position (FIG. 42b).            598 during mating. When fully mated, nibs 598 fit sealably
Depending on the applicmion, it may be desirable to maintain          within respective bores 698, trapping a small volume of fluid
one or more open passages such as 644 (FIG. 42b) between              522 within bores 698. Nib-and-bore seals of the type just
receptacle chamber 519 (FIG. 26) and plug chamber 619                 described are known to have been used in underwater con-
(FIG. 38) when receptacle and plug units 500,600 are mated.           nectors as primary seals around pin-sockctjunctions, permit-
                                                            Exhibit A-30
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 ting such connectors to mate underwater. When used as pri-             they are fully aligned both axially and rotationally. Springs
 mary seals, a small amount of water is trapped in each bore            707a and 707h are slightly compressed when plug and recep-
surrounding each junction, rendering such connectors some-              tacle 600, 500 are fi.dly mated. That allows the face-to-face
 what tmreliable and short lived. In the third embodiment of            mating force to be predetermined, and also corrects for any
 the invention, the nib-and-bore seals are engaged within               axial stack-up uncertainties. (Aitematively, it would be pos-
 benign fluid 522, trapping a small amount of fluid 522 within          sible to eliminate one of springs 707a, 707b; but for most
bores 698, thereby making them highly reliable and long                 applications using two springs is desimble.)
Jived. Also, in this third embodiment of the invention, the             (0099] It is understood that the act11al optical-contact type
nib-and-bore seals are back-up seals, not the primary seals.            used can be one or a plurality of single-fiber contacts as
 (0096] FIG. 49 illustrates an axial cross-section of plug and          shown here, or multiple-Jlber contacts, as shown in U.S.
 receptacle optical contact assemblies 637, 537 in the mated            patent application Ser. No. 12/212,870, published as US
condition. One or a plurality of plug optical contact assem-            2009-0080836, the disclosure of which is incorporated by
blies 642 reside in contact block 643. Exploded views of                reference, or some combination of diverse contact types.
typical plug and receptacle optical contact assembly 642, 551           (OHIO] Prior-art underwater-mateable connectors of the
are shown in FIG. 50. Contact assembly 642 comprises opti-              dual-chamber sort have a circular or annular passage created
cal junction 645a, optical junction alignment ferrule 655,              between opposed chambers when mated. Embodiments of
junction seat 704a, fermle alignment sleeve 709, back-up                the invention have a rectangular passage between opposed
washers 705, glide washer706, compression spring 707a, and              mated chambers, thereby facilitating economical, linear con-
retainer ring 708. Sleeve 709 is press-fit or otherwise fixed           tact arrangements, and pennitting simpler, more reliable seal-
into the anterior portion of contact-block bore 710. The                ing of the mated chambers;
remaining components of assembly 642 are loaded in to the               [01 01] In embodiments of the invention the sealing ele-
rear opening of bore 710, and are retained in place by retainer         ments slide against each other, rather than stretch tightly
ring 708. To maximize the performance of the optical con-               around each other.
nection, it is desirable to rotationally align optical junction         [0102] None of the invention's resilient end-seal elements
645a within contact block 643. That is particularly important           are required to be distmied more than a very small ammmt, at
when using angle-polished junctions. There are many ways to             most a few percent, to sealably seat to their adjoining parts.
achieve that rotational alignment. In the illustrated embodi-           Many other wet-mateable connectors have elastomeric seal-
ment of the invention there is an inward projecting dimple711           ing clements that must stretch as much as 100%, or even
in fem!le alignment sleeve 709. Dimple 711 projects into                more, to achieve proper seals. That exaggerated stretch
aligmnent slot 712a of fermle seat 704a, thereby fixing the             decreases seal lifetime and performance, and can result in
rotational alignment of fermle seat 704a to sleeve 709. Sleeve          high mate-demate forces, and damaging "stiction" at sealing
709 can be rotated within bore 710 of contact block 643 by              interfaces.
overcoming the press fit that keeps it in place. That allows            [0103] In the embodiments of the invention a wide choice
individual contact assemblies to be rotationally "tuned" for            of resilient or elastomeric sealing-element materials is avail-
peak performance within overall assembly 643. Washers 705               able due to the modest mechanical requirements of the seals,
sandwich glide washer 706 between them. When the plug and               thereby expanding the thermal and chemical limits of envi-
receptacle units 600, 500 are mated springs 707 a and 707 bare          ronments in which such connectors can be operated.
slightly compressed. During compression, the axial faces of             [01 04] Embodiments of the invention provide a versatile
springs 707a and 707b tend to rotate around their axes. Glide           "platfonn" into which a very wide range of optical and/or
washers 706 diminish the propagation of that rotation to the            electrical or other junctions can be accommodated. Therefore
optical ferrules.                                                       once the platform has been qualified for use, changing contact
 (0097] Receptacle fcrmle alignment-sleeve 713 of typical               configmations requires only minimal re-qualillcation.
receptacle optical-contact assembly 551 is shorter than com-            (01 05] There is essentially no limit to the size of the open-
parable alignment sleeve 709 assembly 642, but serves the               ing that can be created between the mated plug and receptacle
same purpose. Dimple 714 projects into alignment slot 712b              units in the invention. The design is capable ofbeing scaled up
of ferrule seat 704h, thereby fixing the rotational alignment of        or down to meet diverse program requirements. Therefore the
fermle seat 704b to sleeve 713. Sleeve 713 is lightly press-fit         number and si;-:e ofjunctions that can be incorporated into the
into bore 715 of contact block 543. Shoulder 716 located at             connector is not limited.
the anterior end of bore 715 arrests the forward motion of              (0106] In embodiments of the invention, all of the various
sleeve 713 within bore 715. Sleeve 713 can be rotated within            springs used in the plug and receptacle are contained in the
bore 715 of contact block 543 by overcoming the slight press            benign !luids oft heir sealed chambers, diminishing the prob-
fit that keeps it in place.TI1at allows individual contact assem-       ability of corrosion.
blies to be rotationally "tuned" for peak performance within            (01 07] As discussed above, although the invention has been
overall assembly 543. Assembly 551 does not have an optical             described in terms of particular embodiments in an applica-
junction alignment sleeve. Otherwise, except for the difJer-            tion, one of ordinary skill in the arL in light of the teachings
ences already noted, optical contact assemblies 642 and 551             herein. can generate additional embodiments and modilka-
are identical.                                                          tions without departing from the spirit of, or exceeding the
(0098] Receptacle optical contact block 543 is shorter than             scope ol~ the claimed invention. Accordingly. it is understood
its plug counterpart 643. Typical optical junction 645b                 that the drawings and the descriptions herein are prolTered
projects outward from the anterior end of contact block 543.            only to filcilitate comprehension of the invention and should
When fully mated, optical junction 645b enters plug optical             not be constmed to limit the scope thereof.
junction alignment sleeve 655, making face-to- JiJCe contact
with plug optical junction 645a. It is desirable to have optical           1. A coupler for sealably joining two reservoirs compris-
junctions mate with a predetennined face-to-face force when             ing:
                                                              Exhibit A-31
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    a receptacle having a forward end in communication with              receptacle movable seal member are axially pressed together
       a respective reservoir, and having a longitudinal axis,           to seal their joined interface from the extemal environment.
       wherein the receptacle is configured to couple its respec-           11. The coupler according to claim I 0, wherein the at least
       tive reservoir to a plug;                                         one movable seal member on the plug includes an axially
    a plug having a forward end in conununication with a                 extending actuator projection.
       respective reservoir, and having a longitudinal axis,                12. The coupler according to claim 11, wherein the at least
       wherein the plug is configured to couple its respective           one movable seal member on the receptacle includes a pro-
       reservoir to a receptacle, and wherein the receptacle and         jection-receiving portion for receiving the plug actuator pro-
       plug are movable between an unmated condition and a               jection.
       mated condition in which the forward end of the plug is              13. The coupler according to claimlO, wherein the at least
       in mating engagement with the forward end of the recep-           one movable seal member on the receptacle moves laterally in
       tacle; and                                                        unison with the at least one movable seal member on the plug
    at least one movable seal member on the forward end of the           when the at least one movable seal member of the plug is
       receptacle, and at least one movable seal member on the           actuated between the closed and open positions.
       JiJrward end of the plug, wherein the respective at least            14. The coupler according to claim 13, wherein, upon
       one movable seal members move laterally between                   mating, the at least one receptacle movable seal member and
       closed positions when the receptacle and plug are in the          the respective at least one plug movable seal member are
       unmated condition and open positions when the recep-              axially pressed together to seal their joined interface from the
       tacle and plug are in the mated condition.                        external enviromnent; and subsequently, while maintaining
    2. TI1e coupler according to claim I, wherein the plug and           the sealed, joined interface, move laterally outward in unison
rt->ccptacle Jorward ends each comprise a respective Jlxed seal          !rom a closed position to an open position, thereby creating an
member including a raised portion configured to receive the              open passage between thereceptacleand plug reservoirs, said
respective at least one movable seal member.                             open passage being sealed from the external envirmm1ent.
   3. The coupler according to claim 2, wherein the raised                  15. The coupler according to claim 13, wherein, upon
portion of each respective fixed seal member comprises a slot,           de-mating, the at least one receptacle movable seal member
and wherein the respective at least one movable seal member              and the respective at least one plug movable seal member are
is slidable laterally within the slot.                                   axially pressed together to seal their joined interface from the
   4. The coupler according to claim 3, wherein the slot has at          external enviromnent; and subsequently, while maintaining
least one interior surface which interfaces with at least one            the sealed, joined interfnce, move laterally inward in unison
surface on the respective at least one movable seal member,              from an open position to a closed position, thereby sealing the
and wherein the at least one movable seal member is in                   open passage between the receptacle and plug reservoirs.
sealable engagement with its respective Jlxed seal member on                16. TI1e coupler according to claim 1, wherein the at least
all of the common interlaces with the slot in the unmated                one movable seal member on the forward end of the recep-
condition, and in scalable engagement with its respective                tacle, and the at least one movable seal member on the for-
fixed seal member on all common interfaces with the slot                 ward end of the plug are biased to the closed position by a
except for an opening created between the at least one mov-              biasing member.
able seal member and the respective fixed seal member, in the               17. The coupler according to claim 16, wherein the biasing
mated condition.                                                         member is a spring.
   5. 'll1e coupler according to claim 3, wherein each respec-              18. The coupler according to claim17, wherein the recep-
tive at least one movable seal member has a resilient portion,           tacle fiJrther comprises a back plate having a spring retaining
and wherein the resilient portion of each respective at least            bore configured to receive the biasing spring.
one movable seal member has a portion raised axially for-                   19. The coupler according to claim 17, wherein the plug
ward.                                                                    further comprises a back plate having a spring retaining bore
   6. The coupler according to claim 3, wherein the raised               configured to receive the biasing spring.
portion of at least one of each of the plug and receptacle fixed            20. The coupler according to claim 1, wherein the plug
seal members is resilient.                                               includes an achmtor mechanism conllgured to actuate the at
   7. The coupler according to claim 4, wherein, in the                  least one movable plug seal member from the closed position
unmated condition, the at least one movable receptacle seal              to the open position.
member cooperates with the receptacle fixed seal member to                  21. The coupler according to claim 20, wherein the achwtor
scalably close the receptacle reservoir from the external envi-          mechanism comprises an achwtor stem with a tapered end.
mnment.                                                                     22. The coupler according to claim 21, wherein the achwtor
   8. The coupler according to claim 4, wherein, in the                  stem includes one or a plurality of axial passages.
unmated condition, the at least one movable plug seal mem-                  23. A coupler plug unit having an external shell, a longitu-
ber cooperates with the plug fixed seal member to sealably               dinal axis. an actuator stem, a forward end in communication
close the plug reservoir from the external environment.                  with a respective reservoir ;md adapted for sealable engage-
   9. The coupler according to claim6, wherein, upon mating,             ment with a receptacle unit: the iorward end comprising a
the raised portions of the plug fixed seal member and the                longit11dinal axis, an actuator pin, a fixed seal member, and at
respective raised pmtions oft he receptacle llxed seal member            least one movable seal member; wherein the act11ator stem is
arc axially pressed together to seal their joined interfnce from         configured to actuate the at least one movable seal member
the external environment.                                                from a closed position when the plug unit and the receptacle
   10. The coupler according to claim 5. wherein upon mat-               unit are in an unmated condition to an open position when the
ing, the raised portions of the at least one plug movable seal           plug unit and the receptacle unit are in a mated condition, and
member and the respective raised portions of the at least one            wherein said plug forward end is movable between an axially
                                                              Exhibit A-32
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forward posttwn in the unmated condition and an axially                    43. The coupler receptacle unit according to claim 42,
inward position in the mated condition.                                 wherein the biasing element is a spring.
    24. The coupler plug lmit according to claim 23, wherein               44. The coupler receptacle unit according to claim 43,
the forward end is slidable axially within the extemal shell.           wherein the biasing element accommodates axial stack-up
    25. The coupler plug unit according to claim 24, wherein            tolerances of intemal parts of the receptacle coupler unit.
the forward end is biased in the outward position by a biasing             45. Tl1e coupler receptacle unit according to claim 39
element.                                                                wherein the forward end is compliantly mounted within the
    26. The coupler plug unit according to claim 25, wherein            external shell.
the biasing element is a spring.                                           46. The coupler receptacle unit according to claim 40,
    27. The coupler plug unit according to claim 23, wherein            wherein the at least one movable seal member is biased to the
the actuator stem is an elongated element whose axial posi-             closed position by a biasing member.
tion is substantially fixed with respect to the extemal shell.             47. The coupler receptacle unit according to claim 46,
    28. The coupler plug lmit according to claim 27, wherein            wherein the biasing member is a spring.
the actuator stem has a tapered end.                                       48. A coupler for sealably joining two reservoirs compris-
    29. The coupler plug lmit according to claim 27, wherein            ing:
the actuator stem has a rectangular cross section.                         a plug unit in communication with a respective reservoir
    30. The coupler plug unit according to claim 29, wherein                  and having a longitudinal axis, an actuator stem, a for-
the forward end is maintained in controlled rotational, tilt and              ward projecting external shell, a forward end comprising
axial alignment with the actuator stem by a controlled lateral                an end cap, a fixed seal element and at least one movable
fit between the actuator stem and a confonnal through-port in                 seal clement, said at least one movable seal clement
the forward end.                                                              including an axially extending actuator projection,
    31. The coupler plug unit according to claim 30 wherein                   wherein the at least one movable seal element is movable
lateral compliance of the forward end is provided by resilient                from a closed position when the plug unit and a recep-
nibs acting between the forward end and the extemal shell.                    tacle unit are in an unmated condition and an open posi-
    32. The coupler plug unit according to claim 27, wherein                  tion when the plug unit and a receptacle unit arc in a
the actuator stem includes one or a plurality of axial passages.              mated condition, said plug forward end being axially
                                                                              movable within the plug external shell between an out-
    33. The coupler plug unit according to claim 24, wherein
the travel of the forward end towards the axially forward                     ward position in the mm1ated condition and an inward
position is limited by a stop in the external shell.                          position in the mated condition; and
                                                                           a receptacle unit in communication with a respective res-
    34. The coupler plug unit according to claim 23, wherein
                                                                              ervoir and having a longitudinal axis, a forward end
the fixed seal member includes a portion raised in the axially
                                                                              comprising a fixed seal element and at least one movable
forward direction.
                                                                              seal element, and an external shell with at least one front
    35. The coupler plug unit according to claim 34, wherein
                                                                              opening to acconm1odate the receptacle fixed seal ele-
the at least one movable seal member includes a portion
                                                                              ment and the at least one movable seal element, said at
raised in the axially forward direction.                                      least one movable seal element including an actuator
    36. The coupler plug unit according to claim 35, wherein                  receiving portion fix receiving the plug actuator projec-
the forward end is housed behind a protective end cap having                  tion.
openings to accommodate the raised portions of the fixed and               49. The coupler according to claim 48, in which the plug
movable seal members.                                                   axially extending actuator projection is a pin.
    37. The coupler plug unit according to claim 34, wherein               50. The coupler according to claim 48, in which the recep-
the at least one movable seal member is biased to the closed            tacle acnwtor receiving portion for receiving the plug actuator
position by a biasing member.                                           projection is a socket.
    38. The coupler plug unit according to claim 37, wherein               51. The coupler according to claim 50, wherein, upon
the biasing member is a spring.                                         mating, the receptacle unit enters the forward projecting
    39. A coupler receptacle unit having an external shell, a           external plug shell, causing the receptacle fixed and at least
longitudinal axis, and a forward end in conununication with a           one movable end seals to come into axial engagement with
respective reservoir, the forward end comprising a fixed seal           the respective plug fixed and at least one movable end seals,
clement and at !cast one laterally-movable seal clement con-            <Jnd further causing the plug axially extending actuator pro-
figured to sealably engage a Jorward end of a coupler plug              jection to engage the receptacle acmator receiving portion.
unit.                                                                      52. The coupler according to claim 51, wherein. upon
    40. Tl1e coupler receptacle unit according to claim 39,             substantial insertion of the receptacle unit into the external
wherein the f]xed seal element and the at least one movable             shell of the plug unit during mating of the coupler, the plug
seal element have pmtions raised in the axially Jorward direc-          and receptacle forward ends each comprising a fixed seal
tion.                                                                   element and at least one movable seal clement move inward
    41. The coupler receptacle unit according to claim 40               relative to the plug shell, thereby impaling said plug and
wherein the external shell comprises a front end having at              receptacle forward ends upon the plug actuator stem and
least one opening to accommodate the raised portions of the             actuating the at least one movable plug seal laterally outward:
fixed seal clement and the <Jt least one movable seal clement.          while simultaneously moving the at least one receptacle mov-
    42. The coupler receptacle unit according to claim 39,              able seal laterally outward by \vay of the engagement of its
wherein the f<.1rwmd end including the fixed seal element and           plug-actuator-receiving portion with its respective plug mov-
the at least one movable seal element is held pressed ag<Jinst          able-seal actuator projection, thus Jorming an opening
an interior wall of the t<.1rward end of the extemal shell by a         between the plug fixed seal clement and the at least one
biasing element.                                                        movable plug seal clement and fanning an opening between
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 the receptacle fixed seal element and the at least one movable            62. The coupler according to claim 59, in which the closed
 receptacle seal element to permit the plug actuator stem with          plug reservoir incorporates a means to maintain the pressure
axial passages to enter the receptacle reservoir and join the           within the closed plug reservoir substantially balanced to the
 respective plug and receptacle reservoirs.                             in-situ exterior environment.
    53. TI1e coupler according to claim 48 in which the actuator           63. The coupler according to claim 62, in which the means
stem has a rectangular cross section.                                   to maintain the pressure within the closed plug reservoir
    54. The coupler according to claim 52, in which the open-           substantially balanced to the in-situ exterior environment
ing formed between the forward end plug fixed seal element              comprises one or more flexible portions of the enclosure that
and the at least one plug movable plug seal element when the            defines the closed reservoir.
at least one plug movable seal element moves laterally out-                 64. The coupler unit according to claim 61, having at least
ward in the mated position is rectangular.                              one or more optical ;mel/or electrical contacts mounted within
    55. The coupler according to claim 54, wherein the rectan-          its respective closed reservoir.
gular opening fanned between the plug fixed seal element and                65. The coupler according to claim 62, having at least one
the at least one movable plug seal element when the at least            optical and/or electrical contact mounted within its respective
one movable seal moves laterally outward in the mated con-              closed reservoir for mating engagement to the respective at
dition seal ably confonns to outer surfaces oftheplug actuator          least one optical and/or electrical contact within the recep-
stem.                                                                   tacle closed reservoir when the plug and receptacle coupler
    56. TI1e coupler according to claim 52, in which the open-          units are mated.
                                                                           66. The coupler according to claim 58, having in one of
ing fom1ed between the receptacle end fixed seal element and
the at least one movable receptacle seal element, when the at           either the plug or receptacle closed reservoirs at least one first
                                                                        electrical contact comprising a forward-extending pin with a
least one movable receptacle seal element moves laterally
outward in the mated condition, is rectangular.                         conductive tip and a dielectric nipple around the base portion
                                                                        of the pin, and in the other of either the plug or receptacle
    57. The coupler according to claim 56, wherein the rectan-
                                                                        reservoirs a respective at least one second electrical contact in
gular opening formed between the receptacle fixed seal ele-
                                                                        mating alignment with said first electrical contact, said at
ment and the at least one receptacle movable seal clement,
                                                                        least one second electrical contact comprising an electrical
when the at least one movable seal element moves laterally
                                                                        socket recessed in a dielectric bore sized to scalable fit to the
outward in the mated condition, sealably confonns to outer              dielectric nipple around the base portion of said respective
surfaces of the plug actuator stem.
                                                                        first electrical pin, wherein when mated the engaged pin and
    58. A coupler fiJr sealably joining two closed reservoirs           socket fonn an electrical circuit, and the dielectric nipple and
comprising:                                                             bore cooperate to seal the engaged contacts within a small
   a plug unit in communication with a respective closed                entmppcd volume of the reservoir mobile substance.
      reservoir, and having a longitudinal axis, an actuator               67. The coupler according to claim 66 in which the mobile
      stem, a forward projecting external shell, a forward end          substance within the plug and receptacle closed reservoirs is
      comprising an end cap, a fixed seal element, at least one         a dielectric substance.
      movable seal clement including an axially extending                  68. TI1c coupler according to claim 58 having in one of
      actuator projection, wherein the at least one movable             either the plug or receptacle closed reservoirs at least one first
      seal element is movable from a closed position when the           optical contact conilgureclto receive a second optical contact
      plug unit and a receptacle unit are in an unmated position        in mating alignment, and in the other of either the plug or
      and an open position when the plug unit and a receptacle          receptacle reservoirs a respective at least one second optical
      unit are in a mated condition, said plug forward end              contact in mating alignment with said ilrst optical contact,
      being axially movable within the plug external shell              wherein when mated said respective at least one ilrst and
      between an outward position in the unmated condition              second optical contacts form an at least one optical circuit.
      and an inward position in the mated condition; and                   69_ The coupler according to claim 68 in which the ph1g
   a receptacle unit in communication with a respective                 and receptacle closed reservoirs contain a mobile substance
      closed reservoir, and having a longitudinal axis, a for-          which is substantially optically transparent.
      ward end comprising a fixed seal clement and at least                70. "ll1e coupler according to claim69, in which at least one
      one movable seal element, and an external shell with at           oft he at least one plug or receptacle optical contacts is biased
      least one front opening to accommodate the receptacle             forward by a biasing element.
      fixed seal element and at least one movable seal element             71. The coupler according to claim 70 in which the biasing
      including an actuator receiving portion for receiving a           element is a spring.
      plug actuator projection.                                            72. The coupler according to claim 68 in which at least one
   59. The coupler according to claim 58 in which the closed            of the at least one plug or receptacle optical contacts is rota-
plug <md receptacle reservoirs each contain a mobile sub-               tionally tunable_
stance.                                                                    73. The coupler according to claim 58 in which each of the
   60. The coupler according to claim 59, in which the closed           plug and receptacle units contains at least one optical contact
receptacle reservoir incorporates a means to maintain the               and at least one electrical contact.
pressure within the closed reservoir substantially balanced to             74. The coupler according to claim 73 wherein the plug and
the in-situ exterior environment.                                       rccepwclc reservoirs each contain a mobile substance which
   61. The coupler according to claim60, in which the means             is dielectric and substantially transparent optically.
to maintain the pressure within the closed recepwcle reservoir             75. A method lor sealably joining two reservoirs utilizing a
substantially balanced to the in-situ exterior environment              plug unit and a receptacle unit each in communication with a
comprises one or more flexible portions of the enclosure that           respective reservoir, wherein the a plug unit comprises a
defines the closed reservoir.                                           lorward end. an actuator stem, a flxed seal clement and at least
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one movable seal element including an actuator projection,                 munated condition and an open position when the plug
and wherein the receptacle unit comprises a l(mvard end, a                 unit and a receptacle unit are in the mated condition.
fixed seal element and at least one movable seal element                76. The method according to claim 75, wherein the plug
including an actuator projection receiving portion, the              unit and the receptacle tmit each further comprise an extemal
method comprising:                                                   shell, wherein the forward end of each of the plug unit and the
   moving the receptacle unit and plug unit from an munated          receptacle unit is axially movable within their respective
     condition to a mated condition in which the l(Jrward end        shell; the method fi.1rther comprising moving the plug forward
     of the plug unit is in mating engagement with the for-          end axially within plug external shell between and outward
     ward end of the receptacle tmit;                                position in the unmated condition and an inward condition in
   receiving the plug actuator projection in the receptacle          the mated condition.
     actuator projection receiving portion;                             77. The method according to claim 75, wherein the plug
   impaling the plug and receptacle forward ends with the            unit and the receptacle milt each include at least one optical
      plug actuator stem;                                            and/or electrical contact, the method further comprising mat-
   moving the at least one plug movable seal element and the         ingly engaging respective at least one optical and/or electrical
     at least one receptacle movable seal element laterally          contacts.
     outward by the plug actuator stem from a closed position
     when the plug unit and a receptacle unit are in the                                    * * * * *




                                                          Exhibit A-35
